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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        Case No. 17-22634-Civ-COOKE/GOODMAN

  BRYANT JUNCO,

         Plaintiff,

  vs.

  ADVENTIST HEALTH CARE SYSTEM,

        Defendant.
  _________________________________/

                ORDER DENYING DEFENDANT’S MOTION TO DISMISS
         Before me is Defendant Adventist Health Care System’s Motion to Dismiss
  Amended Complaint, or in the Alternative for a More Definite Statement (“Motion”) (ECF
  No. 16). The Motion is fully briefed and ripe for adjudication. I have reviewed the Motion,
  the record, and the relevant legal authorities. For the reasons stated below, the Motion is
  denied.

                                       I. BACKGROUND
         Plaintiff Bryant Junco (“Plaintiff ”) brought this action against Defendant Adventist
  Health Care System (“Defendant”), alleging that Defendant “discriminated against [him]
  based on [his] sex” while he was working as a secretary for Defendant from 2014 to 2015.
  Amend. Compl., ECF No. 14, at ¶ 1. Specifically, Plaintiff claims that while he was working
  for Defendant’s hospital in Tampa, Florida, he was subjected to “a vehemently offensive and
  hostile environment.” Id. Plaintiff claims that his coworkers and supervisors at the hospital
  “constantly talked down to [him] and mocked/harassed [him] for being ‘the only male
  secretary,’” telling him that he had “‘an old lady job’” and “must ‘surely be homosexual.’”
  Id. Plaintiff further claims that after he complained about the alleged problem “Defendant
  retaliated against [him],” first “by trying to lower [his] rate of pay numerous times,” and
  then “by terminating [his] employment and offering a fabricated reason of ‘disregard for
  patient safety.’” Id. at ¶ 3. Finally, Plaintiff claims that Defendant has continued to retaliate
  against him after his termination, including by misrepresenting Plaintiff ’s “work
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  history/experience” to potential new employers. Id. at ¶ 2.
         Following his termination, Plaintiff filed a charge of discrimination against
  Defendant with the Equal Employment Opportunity Commission (“EEOC”). See Ex. to
  Compl., ECF No. 1-2, at p. 1. The EEOC ultimately dismissed Plaintiff ’s charge and issued
  a notice of his “right to sue” in federal court. Id. at p. 107. Plaintiff, acting pro se, timely filed
  his Complaint with this Court (ECF No. 1), attaching as an exhibit to his Complaint more
  than 100 pages of his EEOC record (ECF No. 1-2). In response, Defendant filed a Motion
  to Dismiss, or in the Alternative for a More Definite Statement (ECF No. 13). Plaintiff
  subsequently filed his Amended Complaint (ECF No. 14), rendering Defendant’s earlier
  motion moot, and Defendant responded by filing the instant Motion (ECF No. 16). The
  instant Motion appears to be identical to Defendant’s earlier motion, save for its references
  to the “Amended Complaint” instead of the “Complaint.” Notably, Defendant’s Motion
  describes the Amended Complaint as “unnecessarily lengthy” and a “‘mass of verbiage,’”
  despite the fact that the Amended Complaint consists of three numbered paragraphs on a
  single page, with only eight pages of attached documents instead of the original 109 pages.
  Motion, ECF No. 16, at pp. 5–6 (citations omitted). Plaintiff has filed a Response in
  Opposition, acknowledging certain flaws in his first Complaint but arguing that his
  Amended Complaint “did comply” with the Federal Rules of Civil Procedure, particularly
  in light of his pro se status. Resp. in Opp., ECF No. 24, at p. 1.

                                          II. DISCUSSION
         In order to state a claim under Federal Rule of Civil Procedure 8(a)(2), a complaint
  must set forth “only ‘a short and plain statement of the claim showing that the pleader is
  entitled to relief,’” thus “‘giv[ing] the defendant fair notice of what the . . . claim is and the
  grounds upon which it rests[.]’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 554–55 (2007)
  (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)). Thus, the Rule “does not require ‘detailed
  factual allegations,’” so long as the complaint “contain[s] sufficient factual matter, accepted as
  true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662,
  677–78 (2009) (emphasis added) (quoting Twombly, 550 U.S. at 555, 570); see also Henderson
  v. JP Morgan Chase Bank, N.A., 436 F. App’x 935, 937 (11th Cir. 2011) (“[C]omplaints
  alleging [employment] discrimination . . . must meet the ‘plausibility standard’ of Twombly
  and Iqbal.”). “In the case of a pro se action, moreover, the court should construe the


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  complaint more liberally than it would formal pleadings drafted by lawyers.” Powell v.
  Lennon, 914 F.2d 1459, 1463 (11th Cir. 1990) (citing Hughes v. Rowe, 449 U.S. 5, 9 (1980)).
         Here, Plaintiff ’s Amended Complaint, together with its attached exhibits, states a
  claim of employment discrimination that is sufficient to survive the instant Motion. See
  Gross v. White, 340 F. App'x 527, 533 (11th Cir. 2009) (“[I]n ruling on a motion to dismiss,
  [the court] may consider not only the complaint but also the exhibits attached to it.”).
  Specifically, the Amended Complaint alleges that during his employment with Defendant
  Plaintiff was subjected to an “offensive and hostile environment,” in which his coworkers
  and supervisors “constantly . . . mocked/harassed [him] for being ‘the only male secretary,’”
  telling him that he had “‘an old lady job’” and “must ‘surely be homosexual.’” Amend.
  Compl., ECF No. 14, at ¶ 1. Plaintiff further alleges that Defendant’s senior management
  was aware of the problem. Id. Plaintiff provides as an exhibit an email that he wrote to
  management two months into his employment, in which he stated that his supervisor’s
  conduct was “oppressive, border line bullying [sic],” and left him “dreading returning to
  work the next day.” Ex. to Compl., ECF No. 1-2, at p. 47. Proceeding on “the assumption
  that all the allegations in the complaint are true,” Twombly, 550 U.S. at 555, Plaintiff has
  stated a claim of workplace harassment in violation of Title VII of the Civil Rights Act of
  1964. See 42 U.S.C. § 2000e–2(a)(1); Vance v. Ball State Univ., 570 U.S. 421, 427 (2013) (“Title
  VII prohibits the creation of a hostile work environment,” defined as an environment “so
  pervaded by discrimination that the terms and conditions of employment [are] altered”).
         Plaintiff also alleges that, after he complained about the harassment described above,
  “Defendant retaliated against [him].” Amend. Compl., ECF No. 14, at ¶ 3. Plaintiff claims
  that Defendant did so first “by trying to lower [Plaintiff ’s] rate of pay numerous times,” and
  then “by terminating [his] employment and offering a fabricated reason of ‘disregard for
  patient safety.’” Id. Finally, Plaintiff claims that Defendant has continued to retaliate against
  him after his termination, including by falsely informing potential new employers that
  Defendant “ha[s] no record of [Plaintiff ’s] employment” and that Plaintiff “had lower lever
  positions” than he actually held. Id. at ¶ 2. Taking these allegations as true, Plaintiff has
  sufficiently stated a claim of retaliation under Title VII. See 42 U.S.C. § 2000e-3(a); Gowski v.
  Peake, 682 F.3d 1299, 1311 (11th Cir. 2012) (“Title VII prohibits employers from retaliating
  against an employee ‘because []he has opposed any . . . unlawful employment practice.’”);


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  Robinson v. Shell Oil Co., 519 U.S. 337, 339 (1997) (a plaintiff “may bring suit against his
  former employer for postemployment actions allegedly taken in retaliation” for his opposition
  to the employer’s discriminatory conduct (emphasis added)).
         In the alternative to moving for dismissal under Rule 12(b)(6), Defendant argues that
  Plaintiff should be required to set forth a more definite statement of his claims pursuant to
  Rule 12(e). Motion, ECF No. 16, at p. 6. Defendant argues that such a remedy is
  appropriate in cases where “the allegations are so extensive and jumbled that the defendant
  cannot be expected to sort out what is being alleged or against whom.” Id. at p. 5.
  Defendant’s argument is perplexing. As an active party in the EEOC matter that preceded
  this lawsuit, Defendant is no stranger to the claims in Plaintiff ’s Amended Complaint. Nor
  is the Amended Complaint, occupying all of one page, so “unnecessarily lengthy” that
  Defendant will be “saddle[d] . . . with the burden of laboring through [it] in an attempt to
  answer its myriad of allegations.” Id. at pp. 5–6. In short, Defendant is sufficiently on notice
  of Plaintiff ’s claims, and those claims are not “so vague or ambiguous that [Defendant]
  cannot reasonably prepare a response.” Fed. R. Civ. P. 12(e).

                                       III. CONCLUSION
         For the reasons outlined above, it is ORDERED and ADJUDGED that Defendant’s
  Motion to Dismiss Amended Complaint, or in the Alternative for a More Definite
  Statement (ECF No. 16) is DENIED.
         DONE and ORDERED in Chambers, in Miami, Florida, this 24th day of
  September 2018.




  Copies furnished to:
  Jonathan Goodman, U.S. Magistrate Judge
  Counsel of record




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